          Case 1:20-cv-02658-CJN Document 16 Filed 09/23/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
TIKTOK INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )    Civil Action No. 1:20-CV-2658-CJN
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)

NOTICE OF GOVERNMENT’S POSITION REGARDING BRIEFING SCHEDULE FOR
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs in this matter have filed an emergency motion for a preliminary injunction and

requested that the Government file a response within approximately 48 hours, and that the Court

hold a hearing and issue a ruling over the weekend. See ECF No. 15 at 2. This emergency schedule

is unnecessary and unwarranted.

        As a procedural matter, this Court should not provide the Government minimal time to

respond (and limited time for the Court itself to consider these issues) given Plaintiffs’ own delay

in filing their motion. Plaintiffs initially filed a similar lawsuit in the Central District of California

almost a month ago. See TikTok, Inc. v. Trump, No. 2:20-cv-7672 (C.D. Cal. filed Aug. 24, 2020).

Separately, on September 8, 2020, Plaintiffs informed the U.S. District Court for the Northern

District of California that they intended to move to intervene in a different pending lawsuit seeking

to enjoin enforcement of the Executive Order; Plaintiffs then elected not do so. Subsequently,

Plaintiffs dismissed their complaint in the Central District of California and filed this suit. The

timing of Plaintiffs’ emergency motion thus appears to have been driven by their own litigation




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          Case 1:20-cv-02658-CJN Document 16 Filed 09/23/20 Page 2 of 3




decisions, and those decisions should not prejudice the Government by providing only a minimal

time to respond.

       As a substantive matter, there is no need for Plaintiffs’ proposed emergency schedule. The

Secretary of Commerce prohibited several transactions with respect to TikTok, but only one set of

those prohibitions is scheduled to go into effect at 11:59 PM ET on Sunday, September 27, 2020.

That set of prohibitions will effectively prevent new U.S. users from downloading TikTok, and

will prevent existing U.S. users from receiving application updates, but will otherwise largely

preserve the status quo with respect to Plaintiffs and their existing U.S. users. Accordingly, there

is no need for the parties (or for this Court) to conduct emergency proceedings and wade into

sensitive issues of national security and foreign policy on the basis of a limited record prepared on

an extremely short timeframe.

       Under these circumstances, where Plaintiffs themselves delayed filing their motion, and

only a limited set of prohibitions will actually take effect on September 27, the Government

respectfully submits that the default response time of seven days should apply to Plaintiffs’ motion

for a preliminary injunction. See Local Civil Rule 65(c).




Dated: September 23, 2020                     Respectfully submitted,

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Case 1:20-cv-02658-CJN Document 16 Filed 09/23/20 Page 3 of 3




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